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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

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IN RE: DEPUY ORTHOPAEDICS, INC. PINNACLE HIP                §    MDL Docket No.
IMPLANT PRODUCTS LIABILITY LITIGATION                       §
                                                            §    3:11-MD-2244-K
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This Document Relates to:                                   §
                                                            §
Marvelle Adams v. Depuy, et al., Case No. 3:11-cv-2695      §
Kathi Jacobs v. Depuy, et al., Case No. 3:11-cv-03078       §
Dorothea Roberts v. Depuy, et al., Case No. 3:11-cv-03080   §
John Manny v. Depuy, et al., Case No. 3:11-cv-03084         §
Robert Foust v. Depuy, et al., Case No. 3:11-cv-03086       §
Lawrence Walker v. Depuy, et al., Case No. 3:11-cv-03087    §
John Rucker v. Depuy, et al., Case No. 3:11-cv-03090        §
Robert Smith v. Depuy, et al., Case No. 3:11-cv-03091       §
John Flanagan v. Depuy, et al., Case No. 3:11-cv-2684       §
Ellen Chambers v. Depuy, et al., Case No. 3:11-cv-2689      §
Paula Lunsford v. Depuy, et al., Case No. 3:11-cv-2692      §
Edward Bauer v. Depuy, et al., Case No. 3:11-cv-2693        §
Winfred Layton v. Depuy, et al., Case No. 3:11-cv-2699      §
Elvin Bauer v. Depuy, et al., Case No. 3:11-cv-2700         §
Darlene Briggs v. Depuy, et al., Case No. 3:11-cv-2701      §
Michael Coward v. Depuy, et al., Case No. 3:11-cv-2702      §
John Eldridge v. Depuy, et al., Case No. 3:11-cv-2704       §
Glenda Cissell v. Depuy, et al., Case No. 3:11-cv-2706      §
Elmer Werdehausen v. Depuy, et al., Case No. 3:11-cv-2863   §
David Young v. Depuy, et al., Case No. 3:11-cv-2865         §
Jerry Straw v. Depuy, et al., Case No. 3:11-cv-2867         §
Nancy DiDonato v. Depuy, et al., Case No. 3:11-cv-2875      §
Michael Jackson v. Depuy, et al., Case No. 3:11-cv-3135     §
Rodney Storey v. Depuy, et al., Case No. 3:12-cv-00691      §
Judy Miller v. Depuy, et al., Case No. 3:12-cv-01172        §
Irene Johnson v. Depuy, et al., Case No. 3:12-cv-01175      §
John Paust v. Depuy, et al., Case No. 3:12-cv-01247         §
Nancy Young v. Depuy, et al., Case No. 3:12-cv-01446        §
Matthew Murnane v. Depuy, et al., Case No. 3:12-cv-01582    §
Dennis Becker v. Depuy, et al., Case No. 3:12-cv-01714      §
Nelson Aviles v. Depuy, et al., Case No. 3:12-cv-01718      §
Michelle Dias v. Depuy, et al., Case No. 3:12-cv-01925      §
Alan Blomquist v. Depuy, et al., Case No. 3:12-cv-01930     §
Rene Ellis v. Depuy, et al., Case No. 3:12-cv-01931         §
Robert Kruse v. Depuy, et al., Case No. 3:12-cv-01932       §
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Michael Moss v. Depuy, et al., Case No. 3:12-cv-01933              §
Mary Miller v. Depuy, et al., Case No. 3:12-cv-01935               §
David Wohlgamuth v. Depuy, et al., Case No. 3:12-cv-01936          §
Scott Eason v. Depuy, et al., Case No. 3:12-cv-01937               §
Steve Zimmerman v. Depuy, et al., Case No. 3:12-cv-01941           §
Diane Mitchell v. Depuy, et al., Case No. 3:12-cv-01944            §
John Albrand v. Depuy, et al., Case No. 3:12-cv-02024              §
Howard Burt v. Depuy, et al., Case No. 3:12-cv-02025               §
Lillian Graff-Sager v. Depuy, et al., Case No. 3:12-cv-02026       §
Darla McBride v. Depuy, et al., Case No. 3:12-cv-02027             §
Edward Kelly v. Depuy, et al., Case No. 3:12-cv-02031              §
Charles Wright v. Depuy, et al., Case No. 3:12-cv-02033            §
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                       NOTICE OF WITHDRAWAL AS ATTORNEY

       Attorney Kevin L. Chaffee withdraws as counsel in MDL No. 2244 and in the above

referenced member civil actions related to MDL No. 2244 and will no longer be appearing on

behalf of any of the above-referenced Plaintiffs.

       Attorneys Kirk J. Goza, Bradley D. Honnold, and Roger D. Nail of Goza & Honnold,

LLC, along with all other previously listed counsel for Plaintiffs, will remain as counsel in MDL

No. 2244 and the above referenced member civil actions related to MDL No. 2244.

                                                    Respectfully submitted,

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                                                    and

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                                     Certificate of Service

I hereby certify that on December 6, 2013, I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
CM/ECF participants registered to receive service in this MDL.


By: /s/ Kirk J. Goza______________________
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